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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA



                               UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA

                         NOTICE OF ASSIGNMENT OF CASE
                TO A UNITED STATES MAGISTRATE JUDGE FOR TRIAL

       Pursuant to the Court’s January 2, 2015 General Order for Referral of Civil Matters to
the United States Magistrate Judges of the Northern District of Alabama, this case has been
randomly assigned to a magistrate judge.

        Pursuant to 28 U.S.C. § 636(c), with written consent of all parties, the assigned
magistrate judge may conduct all proceedings in this case, including all pretrial and trial
proceedings, and the magistrate judge may enter judgment and resolve any post-trial motions.
If the parties consent unanimously to dispositive jurisdiction by the magistrate judge, then any
appellate challenge to the final judgment or to any interlocutory order in this case shall be made
directly to the United States Court of Appeals for the Eleventh Circuit.

        You must complete the attached form to indicate whether you consent to proceed before
the assigned magistrate judge or decline to proceed before the assigned magistrate judge. You
may complete the form electronically and submit it by logging into CM/ECF at the following
web address: https://ecf.alnd.uscourts.gov. When you submit the form electronically, it will be
delivered directly to the Clerk of Court; it will not be filed on the docket sheet, and no judge
will have access to the form. Alternatively, you may print the form, complete it manually, and
submit the form to the Clerk’s Office. You may withhold consent without adverse
consequences.

       If you are the plaintiff or the removing party in this case, you must file your
consent/declination form within 45 days of receipt of this notice. Each other party must file its
consent/declination form within 45 days of appearing in this case. Only the Clerk of Court shall
review the parties’ consent/declination forms. If all parties have not provided written consent to
magistrate judge jurisdiction within 45 days after either (1) the last served defendant has filed
an answer, (2) a defendant has filed a motion to dismiss, or (3) a plaintiff has filed a motion to
remand, whichever occurs first, then the Clerk shall reassign the case to a district judge.

        The plaintiff or removing party must serve a copy of this notice upon all other parties to
this action with the summons and complaint or upon receipt of this notice, whichever comes
first.


                                              SHARON N. HARRIS

                                              CLERK OF COURT
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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                  Southern DIVISION

Beverly Brabham.,                                     }
                                                      }
        Plaintiffs                                    }    Case No.: 2:17-cv-335-TMP
                                                      }
        v.                                            }    CONSENT OR DECLINATION
                                                      }    TO MAGISTRATE JUDGE
Jefferson County Alabama et al,                       }    JURISDICTION
                                                      }
        Defendants.                                   }

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the party)
or the party you represent (if you are an attorney in the case) choose(s) to consent or decline magistrate judge
jurisdiction in this matter. Sign this form below your selection.

    ☐ Consent to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Eleventh Circuit.

        OR

    ☐ Decline Magistrate Judge Jurisdiction

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United
States magistrate judge conduct all further proceedings in this case and I hereby request that this
case be reassigned to a United States district judge.



DATE:    ______, 20 _____                            NAME:     Name.
                                             COUNSEL FOR
                                             (OR “PRO SE”):    Name.



                                                                                Signature
